
54 So.3d 957 (2010)
G.E.G.
v.
STATE of Alabama.
No. CR-07-0036.
Court of Criminal Appeals of Alabama.
July 30, 2010.
Thomas M. Goggans, Montgomery; and Trina S. Williams, Montgomery, for appellant.
Troy King, atty. gen., and Stephanie E. Reiland, asst. atty. gen., for appellee.

After Remand from the Alabama Supreme Court
WELCH, Judge.
This Court's judgment in G.E.G. v. State, 54 So.3d 941 (Ala.Crim.App.2008), reversing G.E.G.'s convictions for possession of drug paraphernalia and second-degree possession of marijuana,[1] violations of §§ 13A-12-260(c) and 13A-12-214, Ala. Code 1975, has been reversed by the Alabama Supreme Court in Ex parte G.E.G., 54 So.3d 949 (Ala.2010). Pursuant to the Supreme Court's opinion, this Court's judgment entered on December 19, 2008, insofar as it reversed two drug convictions is hereby set aside, and we now affirm G.E.G.'s convictions for possession of drug paraphernalia and second-degree possession of marijuana.
AFFIRMED.
*958 WISE, P.J., and KELLUM and MAIN, JJ., concur. WINDOM, J., recuses herself.
NOTES
[1]  This Court affirmed G.E.G.'s conviction for sexual torture. See § 13A-6-65.1, Ala.Code 1975.

